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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Fairly Odd Treasures, LLC                      )
                                               )
v.                                             )      Case No. 1:18-cv- 7719
                                               )
THE PARTNERSHIPS and                           )      Judge: Rebecca R. Pallmeyer
UNINCORPORATED ASSOCIATIONS                    )
IDENTIFIED ON SCHEDULE “A,”                    )      Magistrate: Susan E. Cox
                                               )
                                               )


                               SATISFACTION OF JUDGEMENT

          Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe       Store Name         Store ID                        Email
     18    LVR Supply         A3CKM2SIE22S8U                  teencoco33@gmail.com



dismisses them from the suit without prejudice.

Dated this 12th Day of August, 2019.           Respectfully submitted,


                                               By:      s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record
                                                      Counsel for Plaintiff

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